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                                  IN THE UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF TEXAS
                                             AUSTIN DIVISION

 VANESSA BISSERETH                                          §
                                                            §
            Plaintiff                                       §             CAUSE NO. 1:25-cv-97
 v.                                                         §
 BANK OF AMERICA, N.A. AND                                  §
 JAVITCH BLOCK, LLC                                         §   Removed from Justice Court-Precinct No. 5
                                                            §           of Travis County, Texas
                        Defendant                           §         Cause No. J5-CV-24-274397
                                                            §


                                                     NOTICE OF REMOVAL

         Bank of America, N.A. (“BANA” or “Defendant”) hereby removes the action that Vanessa

Bissereth (“Plaintiff”) filed in the Justice Court-Precinct No. 5 of Travis County, Texas to the

United States District Court for the Western District of Texas, Austin Division. BANA further

shows as follows:

                                     I.         STATEMENT OF THE CASE

           1.         On November 20, 2024, Plaintiff commenced Cause No. J5-CV-24-274397, styled

Vanessa Bissereth v. Bank of America, N.A. and Javitch Block, LLC, in the Justice Court-Precinct

No. 5 of Travis County, Texas (the “State Court Action”). On that date, Plaintiff filed her Original

Petition (the “Petition”) against BANA and Javitch Block, LLC. Pursuant to 28 U.S.C. § 1446(a),

copies of all process, pleadings, orders, and other papers filed in the State Court Action and

obtained by Defendant are attached hereto as composite Exhibit B, and they are incorporated

herein by reference.

           2.         Plaintiff has sued BANA for violations of the Texas Debt Collection Act

(“TDCA”). (Pet. ¶¶ 17-21). Plaintiff has also sued Javitch Block, LLC for violation of the Fair

Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692, et seq., a federal statute. (Pet. ¶¶ 23-


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24.) The Court thus has original jurisdiction of this suit under 28 U.S.C § 1331 because Plaintiff

brings this action, in part, under the FDCPA.

           3.         In filing this Notice of Removal, Defendant does not waive, and specifically

reserves, any and all objections as to service, personal jurisdiction, defenses, exceptions, rights,

and motions. No statement herein or omission shall be deemed to constitute an admission by

Defendant of any of the allegations of, or damages sought in, the Petition.

                                          II.        TIMELINESS OF REMOVAL

           4.         Defendant was served with the Petition on December 27, 2024. (See Exhibit F,

Original Petition with Service of Process Notification.) This Notice of Removal is filed within 30

days of service of the Petition on Defendant. Accordingly, it is timely.1

           5.         A defendant’s receipt of the initial pleading, without the proper effectuation of

service, does not trigger the 30–day removal period. See Murphy Bros., Inc. v. Michetti Pipe

Stringing, Inc., 526 U.S. 344, 354 (1999) (holding 30–day deadline did not begin when defendant

received faxed, file-stamped copy of complaint but had not yet been served). Accordingly, even if

BANA received the initial pleading prior to December 27, 2024, that date cannot be considered

for purposes of calculating the removal deadline. Id.

           6.         28 U.S.C. § 1446(b) limits defendants to removing “within 30 days after the receipt

by the defendant, through service or otherwise, of a copy of the initial pleading setting forth the

claim for relief” (emphasis added). However, the Supreme Court has interpreted the “or otherwise”

language of 28 U.S.C. § 1446(b) to mean a named defendant’s time to remove is triggered by



1
  See 28 U.S.C. § 1446(b) (“The notice of removal of a civil action or proceeding shall be filed within 30
days after the receipt by the defendant, through service or otherwise, of a copy of the initial pleading setting
forth the claim for relief upon which such action or proceeding is based, or within 30 days after the service
of summons upon the defendant if such initial pleading has then been filed in court and is not required to
be served on the defendant, whichever period is shorter.”).

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simultaneous service of the summons and complaint, or receipt of the complaint, “through service

or otherwise,” after and apart from service of the summons, but not by mere receipt of the

complaint unattended by any formal service. See Murphy Brothers, 526 U.S. at 347–48. Because

BANA was not formally served until December 27, 2024, that is the date that triggered the running

of Section 1446’s thirty-day time limit. See Shakouri v. Davis, 923 F.3d 407, 409–10 (5th Cir.

2019) (“If a defendant is never properly served, the thirty-day limit for filing a notice of removal

does not commence to run.”); Chambers v. Greentree Servicing, LLC, No. 3:15-CV-1879-M-BN,

2015 WL 4716596, at *4 (N.D. Tex. Aug. 7, 2015) (plaintiff’s allegation that defendant knew or

should have known about the lawsuit prior to the actual date of service is irrelevant because

defendant had no obligation to remove prior to its receipt or waiver of service).

           7.         Because BANA has filed this Notice of Removal before January 26, 2025 (that

being 30 days after the formal service of process, which was on December 27, 2024), removal is

timely under the controlling statute and case law.

                                                     III.   VENUE

           8.         Venue is proper in the United States District Court for the Western District of

Texas, Austin Division, because this District and Division include Travis County, Texas, the

location of the pending State Court Action.2

            IV.         BASIS FOR REMOVAL: FEDERAL QUESTION JURISDICTION

           9.         Removal of this case is proper under 28 U.S.C. § 1441(a), which provides, in

pertinent part, that “any civil action brought in a State court of which the district courts of the

United States have original jurisdiction, may be removed by the defendant or the defendants, to




2
    See 28 U.S.C. § 1441(a); 28 U.S.C. § 124(b)(2).

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the district court of the United States for the district and division embracing the place where such

action is pending.” 28 U.S.C. § 1441(a).

           10.        This Court has original jurisdiction pursuant to 28 U.S.C. § 1331 because it is

apparent on the face of Plaintiff’s Petition that this action arises under and presents questions of

federal law. (Pet ¶¶ 23-24.) Specifically, Plaintiff pleads asserts claims under the FDCPA, which

is a federal statute. See 15 U.S.C. § 1692, et seq.; see also Gully v. First Nat’l Bank in Meridian,

299 U.S. 109, 112 (1936) (the U.S. district courts have jurisdiction of a case if a federal question

is raised in the complaint, but jurisdiction cannot be based on federal question in an answer).

           11.        With respect to Plaintiff’s state law causes of action (asserted under the Texas Debt

Collection Act), this Court has supplemental jurisdiction over any such claims under 28 U.S.C. §

1367 because those claims arise out of the same operative facts as Plaintiff’s claims under federal

law and “form[s] part of the same case or controversy under Article III of the United States

Constitution.” 28 U.S.C. § 1367(a).

           12.        Because at least some of Plaintiff’s alleged right to relief arises under the laws of

the United States, removal of this entire cause of action is appropriate under

28 U.S.C. §§ 1441(a)-(c).

                 V.        PROCEDURAL REQUIREMENTS HAVE BEEN SATISFIED

           13.        Plaintiff has demanded a jury trial. (See Plaintiff’s Jury Demand in composite

Exhibit B.)

           14.        Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders filed

in the State Court Action are attached hereto as Exhibit B.

           15.        All named defendants have consented to this removal. (See Certificate of

Conference below.)



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           16.        Pursuant to 28 U.S.C. § 1446(d), promptly after filing this Notice of Removal,

Defendant is providing Plaintiff with written notice of removal, and a copy of this Notice of

Removal is being filed with the Clerk of the Justice Court Precinct No. 5 of Travis County, Texas.

                                                     VI.     CONCLUSION

           17.        The Court may exercise federal question and supplemental jurisdiction over this

action because the Plaintiff alleges a federal claim.

           WHEREFORE, Defendant requests that the above-captioned action now pending in Justice

Court-Precinct No. 5 of Travis County, Texas be removed to the United States District Court for

the Western District of Texas, Austin Division, and that said United States District Court assume

jurisdiction of this action and enter such other and further orders as may be necessary to accomplish

the requested removal and promote the ends of justice.


           Dated: January 21, 2025                                  Respectfully submitted,

                                                                    /s/ Matthew D. Durham
                                                                    MATTHEW D. DURHAM, SBN: 24040226
                                                                    mdurham@mcguirewoods.com
                                                                    McGuireWoods, LLP
                                                                    2601 Olive Street, Suite 2100
                                                                    Dallas, Texas 75201
                                                                    Telephone: (214) 932-6400
                                                                    Facsimile: (214) 932-6499

                                                                    ATTORNEY FOR DEFENDANT
                                                                    BANK OF AMERICA, N.A.




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                                            CERTIFICATE OF CONFERENCE

        On Thursday, January 16, 2025, the undersigned conferred with Tyler Lansden, counsel
for co-defendant Javitch Block, LLC. Co-defendant has consented to removal.


                                                              /s/ Matthew D. Durham
                                                              MATTHEW D. DURHAM




                                                CERTIFICATE OF SERVICE

       I hereby certify that on January 21, 2025, a true and correct copy of the foregoing was
served via the ECF filing system as follows:

           Robert Zimmer
           zimmerlawtx@gmail.com
           ZIMMER & ASSOCIATES, A LAW FIRM
           ATTORNEY FOR PLAINTIFF

           Tyler Lansden
           tlansden@jbllc.com
           JAVITCH BLOCK LLC
           ATTORNEY FOR DEFENDANT
           JAVITCH BLOCK, LLC


                                                              /s/ Matthew D. Durham
                                                              MATTHEW D. DURHAM




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